                        UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF TENNESSEE
                                 AT GREENEVILLE


UNITED STATES OF AMERICA                              )
                                                      )
v.                                                    )              NO. 2:10-CR-87
                                                      )
JONATHAN LYNN GROOMS                                  )


                                            ORDER

               This criminal matter is before the Court to consider the Report and Recommendation

of the United States Magistrate Judge dated January 3, 2011. In that Report and Recommendation,

the Magistrate Judge recommends that the defendant’s motion to suppress evidence, [Doc. 94], be

denied. The defendant has filed an objection to this recommendation. [Doc. 128]. After careful

and de novo consideration of the record as a whole, and after careful consideration of the Report and

Recommendation of the United States Magistrate Judge, and for the reasons set out in that Report

and Recommendation which are incorporated by reference herein, it is hereby ORDERED that the

defendant’s objection is OVERRULED, that this Report and Recommendation is ADOPTED and

APPROVED, [Doc. 112], and that the motion to suppress evidence is DENIED, [Doc. 94].

       E N T E R:


                                                                 s/J. RONNIE GREER
                                                          UNITED STATES DISTRICT JUDGE




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